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IN 'I`I-IE UNITED STATES DISTRICT COURT
FOR TI-IE EASTERN DISTRICT OF PENNSYLVANIA

Robert J. Murphy, : CIVIL ACTION
Appellant : NO. 17-02496
v.

Michelle Marinari,

Debtor-in-Process

APPELLANT, ROBERT MURPHY’S, RESPONSE TO THE COURT’S RULE 'I`O
SHOW CAUSE WHY THE CASE SHOULD NOT BE DISMISSED FOR FAILUREl TO
PROSECUTE AND PROVIDING THE COURT A STATUS UPDATE ENTERED JULY

17, 2018

Appellant, Robert Murphy, files the Within response to the court’s rule to show cause
why the case should not be dismissed for failure to prosecute and providing the court a status

update entered July 17, 2018 and in support thereof asserts the following:

1. On May 27, 2017 appellant timely filed a pending motion to reconsider, vacate, make
additional findings of fact and/ or alter or amend and for relief, etc. from the final judgment
entered May 17_. 2017 dismissing debtor, Marinari’s, Chapter 13 bankruptcy proceedings at 14-
19066, inter alia, pursuant to F.R.C.P. 52, 59, 60 and Bankruptcy Rule 7052, 9023 and 9024 and
applicable law involving extensive, critical, complex issues involving the bankruptcy court’s

erroneous dismissal of Marinari’s manifestly bad faith bankruptcy proceedings involving

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debtor’s purported Chapter 13 absolute right to dismissal contrary to Section 1307 (b),
applicable Constitutional and United States Supreme Court decisional law and Bankruptcy
Rules. See, e.g. Marrama v. Citizens chk ofMassachusetts, 549 U.S. 365 (2007), inter alia. See,
e.g. Document #3 in the captioned matter; and Document #131 in the Bankruptcy Court docket

confirming the foregoing

2. On May 31, 2017 appellant timely filed a notice of appeal from the Bankruptcy Court’s
foregoing order entered May 17, 2017 While appellant’s foregoing timely motion pursuant to
F.R.C.P. 52, 59, 60 and Bankruptcy Rule 7052, 9023 and 9024 and applicable law remains

pending

3. Apparently the foregoing bankruptcy proceedings were transferred from Judge FitzSimon

to Judge Chan on or around September 29, 2017.

4. In response to this court’s foregoing show cause order, appellant contacted Ms. Barbara
Townsend, Judge Chan’s Deputy Courtroom Clerk, on July 18, 2018 regarding the status of
appellant’s foregoing pending motion who advised that the bankruptcy court had not and Will not
schedule a hearing or decide appellant’s foregoing motion filed 5/27/2017 pending the
disposition of the appeal in the captioned matter and authorized appellant to advise this court

thereof

5. Appellant respectfully submits that under applicable Federal Rule of Appellate
Procedures including F.R.A.P. 4 (a) (4) (B) (i) and Bankruptcy Rule 8002 (b), the bankruptcy
court retains jurisdiction to schedule a hearing and decide appellant’s foregoing motion while the
appeal remains suspended pending bankruptcy court’s final disposition of appellant’s foregoing

motion filed on May 27, 2017 and accordingly appellant advised the Deputy Courtroom Clerk

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thereof, however the Clerk advised the bankruptcy court would not schedule a hearing or decide
the motion until this court decides the captioned appeal which we respectfully submit is contrary
to the foregoing rules and applicable law. See, e.g. Forba v. Thomas Jejj"erson Universiiy
Hospiral, 666 Fed. Appx. 106 (3d Cir. 2016) in which the Court in a similar situation reiterated
that the lower court i.e. district court retains jurisdiction to consider timely motions for
reconsideration, and other relief etc. under the foregoing civil procedural rules notwithstanding

the filing of a notice of appeal pursuant to F.R.A.P. 4 (a) (4) (B) (i) as follows:

“We have jurisdiction under 28 U.S.C. § 1291. After filing his notice of appeal, Forba filed a
motion for reconsideration and other relief. The District Court denied that motion for lack of
jurisdiction, but Forba did not file another or an amended notice of appeal as required to
challenge that ruling, se_e Fed. R. App. P. 4(a1(4)(]31(ii1. [**51_ and his time to do so has expired
For the District Court's benefit, however, we note that district courts retain jurisdiction to
consider timely motions for reconsideration under Fed. R. Civ. P. 59§ e) notwithstanding the
filing of a notice of appeal. §ge_ Fed. R. App. P. 4(a1(41(B)®.” At 108, Note 2.

Moreover, the Advisory Comrnittee Notes to Bankruptcy Rule 8002 (b) specifically explain that
a notice of appeal filed before or after the filing of the foregoing motions pursuant to Bankruptcy
Rule 7052, 9023 or 9024 but before disposition of the motion is in effect suspended until the
motion is disposed of where upon the previously filed notice effectively places jurisdiction in the
district court or bankruptcy appellate panel.

6. Accordingly, appellant respectfully submits that the captioned appeal be suspended
pending bankruptcy court’s final disposition of appellant’s timely pending foregoing motion to
reconsider, etc. pursuant to Rule 7052, 9023 or 9024 since the appeal from the court’s 5/17/2017
dismissal order only becomes effective when the bankruptcy court disposes of the last such
remaining foregoing appellant’s 5/27/2017 motion is entered pursuant to the foregoing rules and
authorities particularly since Bankruptcy Rule 8002 (b) is essentially identical to the foregoing

Federal Appellate Rule. Forba, supra. Under the circumstances, appellant respectfully requests

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this court inform the bankruptcy court the captioned appeal remains Suspended pending the
bankruptcy court’s appropriate proceedings to finally decide appellant’s presently pending
foregoing motion filed 5/27/2017 pursuant to Rule 7052, 9023 or 9024 and/or direct the
bankruptcy court to proceed with the disposition of appellant’s motion pursuant to the foregoing
rules and applicable decisions

Wl-IEREFORE, appellant respectfully prays this Honorable Court dismiss or deny the
court’s show cause order and suspend the appeal pending the Bankruptcy Court’s final
disposition of appellant’s foregoing motion filed 5/27/2017 and/or inform the Bankruptcy Court
that the captioned appeal has been suspended until the Bankruptcy Court finally decides
appellant’s foregoing 5/27/2017 motion pursuant to the foregoing appellate and bankruptcy rules,
authorities and applicable law and decisions

Respectfully submitted,

BY:/s/

Robert J. Murphy, Esq.
Pro Se

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IN THE UNITED STATES DISTRICT C()URT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Robert J. Murphy, : CIVIL ACTION
Appellant : NO. 17-02496
v.
Miehelle Marinari,
Debtor-in-Process
CERTIFICATE OF SERVICE
l, Robert Murphy, Esquire, Appeilant, hereby certify that

APPELLANT, ROBERT MURPHY’S, RESPONSE TO THE COURT’S RULE TO
SHOW CAUSE WHY THE CASE SHOULD NOT BE DISMISSED FOR FAILURE TO
PROSECUTE AND PROVII)ING THE COURT A S'I`ATUS UPDATE ENTERED JULY

17, 2018

in the captioned matter has been electronically filed with the Clerk of the United States District
Court for the Eastern District of Pennsylvania (Philadelphia) on July 19, 2018 in accordance
with applicable law and rules and true and correct copies thereof were served via U.S. First Class

Mail, Postage Prepaid on the below listed counsel for parties and below listed Chapter 13

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Trustee and Acting United States Trustee on July 19, 2018:

Willialn C. Miller, Esq.
Chapter 13 Trustee

P.O. Box 40119
Philadelphia, Pa 19106-01 19

Andy Vara, Acting U.S. Trustee
Office of the United States Trustee
833 Chestnut Street, Suite 500,
Philadelphia, PA 19107

Michael A. Caltaldo, Esq.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102

BY:/s/

Robert J . Murphy, Esquire
Pro Se

